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                                 #:149070




                        EXHIBI T 5
      Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 2 of 90 Page ID
                                       #:149071



      '^ A088 Rev . 12!07 Sub cena in a CiviE Case

                                                                             Yssuec^ by the
                                              UNITED STATES DISTRICT COURT
                                                     EAS TEttN                                              PENNSYLVANIA

CARTER BRYANT, an Yndi.vidual


                                                                                                     S^BPQENA IN A C1<VIL CASE
                       V.                                                                                                        I
MATTEL, INC., a Delaware Corporation                                                                 Case Number :                   C.a.Cal. CV D9- 9049 SGL (ltMBx)

                                                                                                     Consolidated with cases CV 04-9059 and
                                                                                                     CV 05-2727



^'{): Wachovia Corporation, Legal Division
      Legal Orders Processing
           101 N. Independence Mall East, Philadelphia, PA 19306
           YOU ARE COMMANDED to appear in the United States District court atthe place, date, and time specified belowto
           testify in the above case.




      .    YOU ARE COMMANDED to appear at the place, date, and time spcci lied below to testi fY at the tak ing of a deposition


PLACE OF                                                                                                                                DATE AND TIME




. X        YOU ARE COMMAN DED to produce and permit inspection and copying ofthc following documents ar objects at the
           place, date, and time specified below (list documents or objects):
See Attachment A.



PLACE                                                                                                                                   RATE AND TIIvtB
Court House Legal Services                                                                                                              January 26, 2009
1420 walnut St., Stkite 1216                                                                                                            9: D0 a.m.


          YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below,
PREMISES                                                                                                                                DATE AND TIME




      Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more
offrcers, directors, or managing agents, or other persons who consent to testify.on its behalf, and may set foRh, for each person
designated, the matters on which the person will testify. Federal Rule of Civil Yracedure 30(b)(6).
                                       AND TITL& (INDICATE IP ATTORNEY FOR PLAINTIFF OR DEFENDANT}^ DATi;


ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Jan Corey, QUIND7 EMANUEL U42QUHAf2T OLIVE42 & HEDGES, LLP
865 S. Fi_g_u_eroa St__., lOt:h F3oor, Los Angeles, CA 900I^ (213) 4R3-306D
                                                      (Sec Federn3 Rulc aTCivil Praccdurc AS {c), (d ), and (c), on nex[ page)

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    SERVED
   SERYEp ON (PRINT NAME}                                                                              MANNER OF SERVICE



   SE VED                     NAME}                                                                    TCCL



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      I declare under penalty pf perjury under the laws ofthe lDni#ed States of America that the foregoing information contained
  in the Proof of Service is true and aarrect.        '

    Executed on
                                                  DA•fE                                               SIGNATURE Or SERVCR



                                                                                                      ADDRES50FSERVER



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Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 4 of 90 Page ID
                                 #:149073




                                             ATTACHMENT A

                    1.     All agreements, contracts and written communications between MGA
     Entertainment, Inc. and Wachovia since January 1, 2007.

                   2.    All agreements, contracts and written communications between OmniN'et
     Capital, LLC and Wachovia since January 1, 2007.

                   3.    A]1 agreements, contracts and written communications between Omni $08
     Investors, LLC and Wachovia since January 1, 2007.

                  4.      All agreements, contracts and written communisations between Isaac Larian
     and Wachovia since January 1, 2007.

                    5.     All agreements and contracts referring or relating to any indebtedness awed .
     by MGA Entcrtainment, Inc. or any credit extended to MGA Entertainment, Inc, since January 1,
     2007, and any amendments or modifications thereto, and any communications related to any such
     agreements or contracts.

                     6.     The information provided to you by MGA Entertainment, Inc. for purposes of
     entering into or modifying any agreement or contract, or any potential agreement or contract, at any
     time since January 1, 2007,

                   7.    Any explanation or justification that you understood or was provided for why
     MGA Entertainment, Inc, needed or Sought any loan agreement or line of credit or other financing
     arrangement from Wachovia Corporation since January 1, 2007.

                     8.     All documents referring or relating to any other MGA Entertainment, Inc.
     lenders or persons who extended or were requested to extend a line of credit to MGA Entertainment,
     Inc. since January 3, 2007.

                     9,      All documents referring or relating to any ]enders or persons who have taken a
     security interest in any MGA Entertainment, Inc. asset since January 1, 2007.

                    ! 0.   All documents referring or relating to the assignment of your security interest
     in MGA Entertainment, Inc, assets, as identified in the U.C.C. f nancing statements attached as
     Exhibit 1, to Omni 808 Investors, LLC.

                   l 1.    All communications with Omni $0$ Investors, LLC, OmniNet Capital, LLC
    or Neil Kadisha referring or relating to Vision Capital, LLC, Lexington Financial, LLC, Mattel,
    MGA, Isaac Larian, any family member of Isaac Larian, Fred Mashian and/or $ratz.




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Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 5 of 90 Page ID
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                     12.   All cammunicatians with MGA )✓ntertainment , Inc. referring or relating to
     Vision Capital, LLC, Lexington Financial , I.LC, Mattel, Isaac Larian, any family member of Isaac
     Larian, Neil Kadisha, Fred Mashian and/ar Bratz since January 3, 2007.




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                                                             EXF^^BI^'             ^                     .
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              MGAFa^^A *^n,^^ It ;c.                                                      ^achovis Baltic, NatiorulAssaeiation . as Agent
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                 13cbtor                                                      Sectored Pturty:
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             the foragoiiig; and

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             Notrvithvteoding tits foregoing , in the Casa of as 1,ssoer that is a Foiaigu Subsidiary, Dsbtar has only
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                       to cause any insierial adVcise tax vansexluei>Ces) of the issued end outstandiag $gaity Tntarst of
             sudt Foreign Subsidiary entitled to vote (witi^in ^ meau3ng of Treas . Rag. SeatIcsa I.9S6-2(e}(2)) end
             {y} 1009^v of the issued Bud otetvtrtsthng Hquity interest of tn ,elt Foreign Snbs^idiary not etititled to voce
             (within the wesaiug of'l^caa Reg. Sectioe 1.45b-2(ex2)).




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              any qty esrfitlemtats, as dofiaed in 5eC^ort 8-1t32{e}[i^ of the UCt", witFt respect thereto);
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            set forth itr Exhibit A attaaiscd tlcwto , ognitp itUctsts in MGA t7.MPt14inmeut Svredra AB, M(3A ^SStCIt31aii1etlt Bepah17L,5pRl.,
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            Ent^mmirtmeltt Pmdllctions, Inc., bipA t3alcit^lnmeut (Maxim) lpc, and "flw Luti,c xfkes Company, (c},teiatcd assnt9 sud (a)
            piocecds thereof, aA as r3sox:: patt^ulxxiy dcscnbed aa!✓xhbIt A ettacLed hereto.




       9. NAMEor BECUREO PARTY a^REW Rl7 AUR:oasaN011tiq AM>3^loat2:Nlf twral utp^a4 r W^ S an iwrp,rne^q. r w• r anMwrinw4.^afoae)• ors^ur,.h^n
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              Debtor;                                                         Stcvr^cd party:
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              MGA ^tertainment Inc.                                           Weafrovia Bank, Nations ! Association, as Agent
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              Vap. Nuys, C^lifomia 914t?6                                     Philadelphia, Ptaasyivaai& 19107



                    Ali of Debtor's right, ti8e and iwterest in, to and undo the following (calIectivaly, the
           ,.Callatcas4"):

                    (a)      alI Equity Iuttrtsie upw or hereafter acquire=d or held by l7cbtar in tht; issuers (caclt art
           "Istivef') dcscribadur Sobadnlo 7 attached here3a;

                    (b)      all payments due or in 6erAme due to Debtor in respect of any of tha facagcing;

                    (c)       all of Debtor's claims, rights, powers, privilCges, authority. puta, eaI]s, options, secttrity
           interests, [icna and rxxncdies, if any, is respect of any of the foregoing;

                    (d)      a[I of i7ebtar 's ^ to excrnise and ezrf'orce any and Query right , power, remedy,
           authority, option and privflega of Ykbtar relating m stay of the farr:gaiag secluding, without limitation,
           any powa to (i) teurtinatc , eaacel or ntodlfy aszY agtumetu. (iia exaetite arly [nstttimertts and W take any
           and al] atlwr metros on behalf of and in the twmc of I?cbtar in nspcct of any of the foregoing and itte
           appIieab]c Issues thereof; (iu') axerssiae voting r3gbis ar mulao dotenmiaatiflns, (iv) exerrise nay elxtivrr
           (including, beat r^ot lian'sted to, elccliom of rtxnedies ), (v) exercise say `"pnt", rip^t of fnst offer or fi^'t
           refosal, or other option, (vi) excrotae any rivet of and®ptian or repmthasc, (vii) give or rer^ive nay
           notice, cauxertt, auicadmait, waiver orappmval , (viii) dturtaod, resreive;, cnfarrc, collect or receipt for any
           of the fnczgoipg, {ix) trtfanGe ar execute oily chocks, or other instrttmcnts or orders, and (x) fdc any
           claims and to ta]ce suy action is conpectlon with $uy of the foregoing;

                    (e)     alI carti5catcs and irtsstrttmetrts representing ar evidencing any of the foregoing;

                   {f7     ail other rights, titles, interests, powers, privi]cgcs and ptrict^nees pcrtaitt]nS to nny of
           fho forcgaing; and

                    (g)      a]I Proceeds of any aF cite foregoing.

           NotwiQtstanding tha faragoiag, {x) in un evcat shaJ2 the Debtor be requimed to subject to the lien of tLc
           Fledge Agre+;mcnt ar aAy other loan dooumart more tleazt 65% (or ouch greater pcrcertta &c that, due to a
           change in ap Applicab]c I.aw after Actobcr 27, 2pt}fi, (A) eoul8 not reasonab]y bo expxted to causo iha
           tindistribttted earpings of such i±oreiga Subsidiary as detarutirted far l3nit«I 5tatec federal iQCame tax
           purposes to ba tteattd as a deemed dividend to such Poreign Subsidiary ' s United States parent and
           t:B) could not reasonably be expxitd io Cattse any suuatetia[ adverse tax consequences) oFthe issued acrd
           outstanding lqu]Ey Interest of a loreigo 3ubeidiary captlcd to vote {witlriu the ,scaring of Treas. ltag.
           Section I .456.2(c)(2)) detcrmitted on a ca[[cctive basis, teat (y) tiu Debtor steal[ ba t^equirrd to sabjeak to
           the Tien of the Pledge Agreement 100% of the issued and outstanding iquity Inttrtst of a Foreign
           Subsidiary not entitled to vote (within the meaning of Treav . Reg. Sootion ].9SCr2(c)[2)).




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                     "^i          er " meant, with respect to asry Paaou, any share of capital stock of (or at3ur                   tYi
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            ownership interests in) such Person, any wasrdrsE , option or othor right for the gtuohese or other
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                     "Person" means an individual, oorpcuariaa . partrrerals[p, lirrtitzd liability cossapagy , assaciatiou,
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                All of Debtor's righ#, title and Merest 'sn, to and ^udcr the following (colloctivcly, the
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             "Issues'} dnectt'3yad is Ssdtadnlo 1 attac}aed hers:br,;                 .

                     ro)        nu paymcu^s due oz to beQOtrn dEto ^ ndreot iA respoa of aay of the foragoix^
                     (a)      a!I of Debtor's claims, rights, powers, I^^el^                 Y^ P^ ^, opgotts, sorority
             iateasts, liens and reraediss, if any, in respaet of any of the ^'a&p5°8'.

                       [e)      all of I}eistnr's ri8luis to e^sersxYe and nnt'otea may mad evefiV ^t+ pawn; ^Y.
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                      (t)       all certtficstes and instrtmrnb t^Sre30ntaig RT evidencing any of >be f^cgaing,

                     [g}     all other rights, titles, ntetzyts, powers, lrnln'leges and preferevccs patainiug to any of
             the foregoing; and                                                            '

                      (h}       a!l #'incoeds of uty of the foregoing.

             Notwitttatatlding rho foregoing, Debtor has only grtinDod a sxtaity iattetesl in (x) 65% (or such grr^ter
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             (Y) 100% of tree issued and outstanding acpiity Interest of the Iasner eat eatiQed to vote (wi$iiu the
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                ❑ Added Name:
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                ^ Corrected Name trorn : MCA ENTERTAINMENT (MEXICO), INC.
                }^ To: MGA ENTEFiTA1MMENT (MEXIC,O), INC.
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                .pilc with CaFifolnia Secretary of Sptte ; l7abtar Name : MGA Fntsrtrimm^nt (Mexico}, (nc.

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                                                                                                                                    die;
                                                                                                                                    L^^
                                                                     ^t

                                                                                                                                    aft
               Debtors                                                       Secured 1?eaty:
               M{3A F^tertaiameat (rirfexico), Ina.                          WaClmvia $ank, National Association, us Agent
                                                                                                                                    t7'
               1 ^^ Kosaoe 131Vd.r Suite 200                                 One South Broad StrCet, PA A830
               Van Nuys, California 9140b                                    Pitt^sdclphia, Pennsylvania 19107                      ..-^




                    All of Debtor's ri8lct, title and interest in, to and under the following (cnIIeotively, the
            "Callatersl'7:

                    (s}      a!i l?quity InteresSs now ar htrcatter acquitxd or held by lacbtor in issuar (tl^c "Sssna^')
            described in 5cltedule l sttsotrcd hereto;

                     (b}      alt payments due artnbemme doe to lkbtnr in r^espoct of Bay of the foregoing;

                     {c)        au of Debtor's claims, rights. powers, privileges, authority . guts, calls, options, security
            interests, ] ien^s and remedies, ifatry, is txspxt oftrny of the for+cgaing;

                      (d)     a!I of Debtor's riglrts to cxsrcisc and euforve any and every right, power, remody,
            atrtharity, apfian and privilege of l]ebtar rrlatiog to any of the foregoing including, without limikstian,
            any power to (t) terminate, cancel or modify soy ageeuxent, (ri) execute any iztstrtu¢ettts and to take any
            and a!1 other actiotr otE bohalf of and is rite name of Debtor in rsepeot of any of the foregoing a¢td [hn
            appliasbla ls'sttet thereof, ('iii} excrerse voturg sights ar mnlcc dettsmipnl ions, (iv) exesclae any elactiou
            (including, but oat limited to, election of remedies), (v) acesrix arty "puY', right of first offer or first
            ro[iissl, or other option, {vl) azereisC any right of redemption or sapum.,Lase, (vii) give or receivo soy
            notice, aonsertt, amCndtltCnt, watveror approval. (viii} mod, reacive, errfatre, collect ar t^ectipt for anY
            o£ Qre foregoing, (ix) carforeti or exzCttlc any checks, ar other ias'brumcnts ar orders, and (x) file spay
            claims sod to take any action ire canna^ioa with asst' of the foregoing;

                     (e)      all cettiScai, es aad iastrtstttent9 rtpr^ng or avideaciag arty of rho foregoing;

                     (t}      all other rights, titles, ioterests, powers. privileges and preferences Pertaining to any of
            tiro foregoing, and

                     (g)       sill?roceodsnfanyafthaForegoittg•

            Notwlthstending the faragoivg, {x) in no eventslrall the Debtor be re+qui ^tid to subject to the Lien of the
            Pledge Agrcamcrrt or arty other loan daaument morn than 65% (or such greater p^entage that, due to a
            change iu an Appticablc Law ailcr October 27, 2005, (A) could not roasonably bss rxpasmd to csusa tha
            undishx'batecl earainga of such Foxeigrr Subsidiary ^ dt:temtirled for United States federal intorna tax
            purposes to be treated as a decrtred dividend to such Foreign Subsidiary's United States parent and
            (B) could not reasonably be cxpecled to cause any material adverse tax cor^soquer<ccs) of the issued and
            outstanding >;qulty Intctrst ofa l:orelgn Subsidiary en[itlvd tv you (Wltltln the meaning of'freas, lteg.
            5cction 1.955-2(c)(2)) detcrmirtcd on a aol)eclivc basis, but {y) the Debtor shall be required to subject to
            the Lien of the fledge Agrtcmer:t 100°la of the isautd cad outsGs>ading P.quity intcrest of a Forcigp
            Subsidiary not ontitied to vats (within tho moaning of 1'rras. l2eg. $netion 1.956-2(0)(2)).




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            As used herein:                                                                                                     t^
                                                                                                                                t^
                     "Equity interesP' means, with roapoct to eny Person , eny 5harz of capital stock of (or over               sty
                                                                                                                                sax
            ownership iwtasvsts ia} 8t1Ch Pen;vn, any WarrBmty option or over right for thn gurohasc or other                  t;s7
            acquisition ^ such Yetann of any altare of capital stock of (or athrx owaer5ltip interests in) such                a,p
            Parson, any security convertible into ar prchmugeahie far any aharac of dpita] stoclcof (or othcx awaershig
            interests in} such Pty air warranty right or optlmt farthe putt ;ltasc or other acquisition from such Person
            of such sharks (or such othea' owacrstup lntrresis), and any other ownership iatGraaE in such Person
            (iaolndiag, without loautatioa, par-aetship, mamba or btu9t iptv^ta thcrem}, whether voi^g yr
            nonVOting, and whether or trot each shar^, warrant, option, rigktt ar other iakrest is autlwrized or
            athcrwise existing on any daft of rle[ermiisatiosr.                       •

                     "Person" mesas an iadivldtraly corpotatioa , partnership, limited liabWty catuyaay, assaciati^,
            trust ar uninoorparat«1 ox^genizatiar; or a govrrnmcat or any agency ar political subdivision iharao£

                     "^rorceds" mesas ell proceeds (inahrd-mg graceads of proceeds) of any of the Collateral
            ineludir^ alI: (a) rights, beaclits , distsilxrtinas, premirm^a, profits, dividends, irtarcat, tech, i^tA,
            documents of title, atxwunta, vantsact sights, irlvcatory, egttlpmcnt, geaeral intangibles, payriticnt
            intaa^les, deposit accounts , chattel paper, and other Qxapcrty from time bo tirac received , reeeivable, ar
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            the Collateral, or pmoaeds thereof {-uscluding gay trash, >3quity lnseresl.^, or arbor iastrrtment9 issued sitar
            arty recapitalization, teadjustmeat, reciassif^catiaa, tzsorga ar cousolidatianwitiitrspoct to the Issuers and
            airy security entitlcritcnfs, as daftrted is Section 5-102{a)(l7) of the IILC, with respect iltta+eto),
            (b) "proceeds; as such tarn is dcfine3 in Section 9-i0Z(a)(64) of the 17CG; (o?psaoeeds of say
            inseuancc, iadarunity, warranty, or gunraary (igeluding guaranties of delivery ) payable from. timo to time
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          9. NAME OF SECURED PARTY or AECOItD A +1htORIIIHG Tit15 AkIENnMFJlr (name of assignor, I ! gds is         Assigoma;ntl. If Shls is an Amendment eulhprLZnd by S Debrdr WI1L^1
          addc oallaSeret o[ adds the audwrtQi Dehlor, or if Ihb k a Terminaliod authorirsd a Debtor, cheat horn Lf and enter Hama of D W TOR aulhorir] Ws Amendman6
                         9a. DRGANLZATION'S NAME
            oR           WacFlovIa ganCc, National Association , as A ant
                         Bb. INDNIDUAL'S LASTNAME                                                     IAST NAME                                   M1ppLE NAME                           SUFFIX

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                        EXHIBIT 6
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    950 782 2021
HF.AL. POTIS CH MANQ CPW.COM                                                                          HONG'KONG




                                                                  January 29, 2009



                Re:       Non-Patty Subpoena in Bryant v Mattellna , CV 04-09U49


                Ton D. Carey, Esq.
                Quinn Emanuel Urquhart Oliver & Hedges, LLP
                865 South Figueroa Street, 10th iwloor
                Los Angeles, Califoznia 90017-2543

                Dear Jon:

                       I am writing to memorialize our discussion related to Mattel's subpoena
                addressed to my client, Wachovia Corporation ("Wachavia"), dated January 12,
                2009 (the "Subpoena").

                        Asper our discussion, Wachovia has identified a number of documents
                responsive to the Subpoena. Notwithstanding Wachovia ' s objections to the
                Subpoena, and dependent upon (1) the resolution of MGA Entertainment Inc.'s
                forthcoming motion to quash, and (Z) Mattel's agreement to reimburse Wachovia
                for reasonable out-af-packet expenses that have been and will be incurred in
                connection with producing responsive documents , Wachovia will produce nan-
                privileged documents in the following categories:

                               •   A copy of MGA's "credit file," which apparently includes
                                   Ynaterials such as primary credit documents, executed credit,
                                   security and guarantee agreements , monthly asset reports, draft
                                   consolidated balance sheets and cash flow statements;

                               •   Copies of selected Wachovia's workout officers' desk files.
                                   These "desk files" include, inter olio, drafts of documents, internal
                                   analyses, correspondence between a borrower and the workout
                                   officers regarding violation of debt covenants and debt
                                   restructuring scenarios. In this instance , l believe the files also
                                   contain correspondence and agreements relating to transactions
                                   with OmniNet Capital, LLC and Omni 808 Investors, LLC,

                                                                              E^H^^IT

                                                                              PAGE                 ^^
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         Jon D. Corey, Esq.                                2                             January 29, 2049

                             reports on MGA's cash-flow, "Lender Update" presentations by
                             MGA detailing the company ' s financial situation, reports on
                             MGA's operations, set-off notices , and correspondence regarding
                             same. As noted, Wachovia would produce files from a Managing
                             Director, Director , and Associate with responsibility for the MGA
                             account;

                             A complete set of all documents made available to lenders on
                             Wachovia's ACBS SyndTrak^ system. These documents include,
                             inter alia, executed agreements {including agreements relating to
                             transactions with Omni 848 Investors, LLC and OmniNet Capital,
                             LLC}, executed waivers of conditions in credit agreements,
                             promissory notes, offer letters, term sheets, notices of borrowing,
                             acceleration and set-off notices, due diligence reports, debt
                             restructuring proposals, and correspondence between MGA and
                             Wachovia; and

                         •   A complete copy of the closing set of the MGA/OmniNet Capital,
                             LLC transaction.

                 We believe that the foregoing documents sufficiently respond to each of
         the requests in the Subpoena. Wachavia will not produce additional documents
         including electronic communications between Wachovia and various entities
         sought in certain of your requests. 'The collection, processing, and review of
         electronic documents in these circumstances would be extremely burdensome,
         particularly for anon-party. Further, in light of the planned production of the
         above-listed documents, as well as the productions that Wachovia has made in
         this matter in the past, further collection, review, and production of electronic
         documents would be unduly burdensome, and otherwise inappropriate. Note,
         however, that electronic documents that were printed and stored as part of the
         above-listed categories would be included in any praduction from thase sources.

                    Flease do not hesitate to let me know if you have any questions.

                                                                Very truly yours,



                                                                Neal A. Potischrnan                   ^ ""f

         By Electronic Mail




                    ` ACBS SyndTrak is a front-office software system that facilitates data sharing among
         lenders.


                                                                               EXHIBIT                      w
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                        EXHIBIT 7
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                                      #:149102


     1     Bingham McCutchen LLP
           TODD E . GORDINIER (SBN 82200}
     2     PETER N. VILLAR ( SBN 204038}
           JENNIFER A. LOPEZ ( SBN 232320)
     3     600 Anton Boulevard
           18th Floor
     4     Costa Mesa, CA 92626--1924
           Telephone : 714.830.0600
     5     Facsimile: 714 . 83 0.0700
           Email: todd . ordinier@bingham.com
     G             jenni^er. lopez bingham.com
     7    Attorneys for Non-pparty
                                 y
          OMNI 808 INVES 'T'ORS, LLC
     8
                                             UNITED STATES DISTRICT COURT
     9
                                            CENTRAL DISTRICT OF CALIFORNIA
 IO
                                                  EASTERN DIVISION
11
12
          Carter Bryant, an individual,                    .Case No. CV 04-9049 SGL (RNBx)
13
                             Plaintiff
14
                                       v.                  NON--PARTY OMNI 808
15                                                         INVESTORS, LLC'S OBJECTIONS
          Mattel, 1nc., a Delaware Corporation,            TO DEFENDANT MATTEL, INC.'S
16                                                         SUBPOENA FOR THE
                             Defendant.                    PRODUCTION OF DOCUMENTS
17
18                                                         Judge:         Hon. Stephen G. Larson
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20
21

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                                              EXHIBIT ^             ^^,
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           NON-PARTY OMNi 808 INVESTORS, LLC'S OBJECTIONS TO DEFENDANT MAT"I'EL, INC.'S
                        SUBPOENA FOR THE PRODUCTION OF DOCUI^IEN"1'S
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 34 of 90 Page ID
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     1              Pursuant to Federal Rule of Civil Procedure 45, non-party O1VIN1 808
 2        INVESTORS, LLC ("Omni") hereby responds to the Subpoena for the production
 3        of documents {hereafter, "the Subpoena") served in this action by defendant
 4       Mattel, Inc., as follows:            '
 5
 6                                           PRELIMINARY STATEMENT
 7                 These responses are based solely on the facts, information and documents
 8       presently known and available to Omni. Omni's search for and review of

 9       potentially responsive documents is ongoing and may disclose the existence of
10       additional facts, information or documents, or possibly lead to additions or changes
11       to these responses. Omni reserves the right to revise or supplement these
12       responses if and when additional facts, information or documents are discovered.
13                 The inadvertent production of proprietary, confidential, highly confidential,
l4       or privileged documents or information by Omni does not and shall not constitute
I5       waiver of any applicable privilege, rights under any protective order or trade
16       secret, nor should production of any document or information be construed to
17       waive any objection to the admission of such documents or information in
18       evidence, including without limitation that of relevancy.
19
20                                            GENERAL OBJECTIONS
21                 1.        Omni objects to the Subpoena, and each document request contained
22       therein, to the extent and on the ground that it seeks dacuments that are protected
23       by any applicable privilege, doctrine or immunity, including without limitation, the
24       attorney-client privilege and the attorney work product doctrine.
25                 2.        Omni objects to the Subpoena, and each document request contained
26       therein, to the extent and on the ground that the Subpoena was not properly issued
27       ar served, or otherwise fails to comply with the Federal Rules of Civil Procedure.

28                                                EXHIBIT
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           NON-.PARTY OMNI 808 INVESTORS, LLC'S OB.)ECTIONS TO DEFENDANT MATTEL, INC.'S
                         SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
         Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 35 of 90 Page ID
                                          #:149104


     1               3.        Omni objects to the Subpoena, and each document request contained
 2          therein, to the extent and on the ground that it seeks documents which contain
 3          private, confidential or proprietary information of Omni or its clients or employees,
 4          or where disclosure would invade the privacy rights of Omni or its clients or
 S          employees.                                      .
 6                   4.        Omni objects to the Subpoena , and each document request contained
 7         therein, to the extent and on the ground that it seeks documents that are not
 8         relevant to the parties ' claims or defenses asserted in the action.
 9                   5.        Omni objects to the Subpoena , and each document request contained
10         therein, to the extent and on the ground that the burden, expense or intrusiveness of
11         the discovery outweighs the likelihood that the documents sought will lead to the
12         discovery of relevant evidence.
13                   6.       Omni objects to the Subpoena, and each document request contained
14         therein, to the extent and on the ground that it seeks documents from nonparty
15         Omni that are equally or more readily available and attainable from parties to the
16 ^'' action.
17                   7.       Omni objects to the Subpoena , and each document request contained
18         therein, to the extent and on the ground that it is vague , ambiguous or fails to
19         identify the documents sought with sufficient particularity.
20                   8.       Omni objects to the Subpoena, and each document request contained
21         therein, to the extent and on the ground that it is overly broad , unduly burdensome,
22         oppressive or harassing.
23                  9.        Omni objects to the Subpoena, and each document request contained
24         therein, to the extent and on the ground that it seeks documents from sources that
25         are not reasonably accessible and would subject the responding party to undue
26         burden and expense.
27

2s                                            ^.^4H ^ ^^T
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             NON-PARTY OMNI 808 INVESTORS, LLC'S OBJrECTIONS TO DEFENDANT MATTEL, INC.'S
                           SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
         Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 36 of 90 Page ID
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     I                I0.     Omni objects to the Subpoena, and each document request contained
     2      therein, to the extent and on the ground that it requires the production of
 3          documents that are subject to a conf dentiality or nondisclosure agreement.
 4                   1 I.     Omni objects to the Subpoena, and each document request contained
 5          therein, on the ground that the place, date and time for compliance is not
 6          reasonable or sufficient given the scope of the requests.
 7                   12.      Omni objects to the production of any documents under the Subpoena
 S          unless and until there is an acceptable protective order issued by the Court.
 9                   In addition to these general objections which are incorporated into each and
10          every response herein, Omni specifically responds to each individual document
lI          z-equest as follows:
I2
13                   SPECIFIC OBJECTIONS TO REQUESTS FOR PRODUCTION
14         RE UEST NO. X
15                   All documents referring or relating to agreements, contracts or transactions
16         between MGA Entertainment, inc. and Omni 808 Investors, LLC, or any
17         subsidiary or affiliate of Omni SOS Investors, LLC, and any amendments or
18         modifications thereto, and any communications referring or relating to any such
19         agreements, contracts or transactions.
20         RESPONSE TO RE VEST NO. 1:
21                  In addition to the general objections set forth above, Omni objects to this
22         request on the ground that it seeks documents that are protected by the attorney-
23         client privilege and attorney work product doctrine. Omni further objects to the
24         request on the ground that it is overly broad and unduly burdensome. Omni further
25         objects to the request on the ground that it seeks documents that contain private,
26         confidential or proprietary information of Omni or other non-parties. Omni further
27         objects to the request on the ground that the burden, expense and intzusiveness of
?$         the discovery outweighs the ^^l^^^that the ocuments sought will lead to the
           A/72816085.3/3009108-006033652              _   _   .^

             NON-PARTY OMNI 808 INVES^C^^?             TO DEFENDANT MATTEL, INC.'S
                          SUBPOENA FOR THE PRODUCTCON Or DOCUMENTS
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 37 of 90 Page ID
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     1    discovery of relevant evidence.
     2    RE UEST N0.2:
 3                   All documents referring or relating to agreements, contracts or transactions
 4        between Wachovia, or any subsidiary or affiliate of Wachovia, and Omni 808
 5        Investors, LLC, or any subsidiary or affiliate of Omni $08 Investors, LLC, and any
 6        amendments or modifications thereto, and any communications referring or
 7        relating to any such agreements, contracts or transactions.
 8        RESPONSE TO REQUEST N0.2:
 9                   In addition to the general objections set forth above, Omni objects to this
10        request on the ground that it seeks documents that are protected by the attorney-
11        client privilege and attorney work product doctrine. Omni further objects to the
12       request on the ground that it is overly broad and unduly burdensome . Omni further
13       objects to the request an the ground that it seeks documents that contain private,
14       conf dential or proprietary information of Omni, Wachovia or other non_parties.
15       Omni further objects to the request on the ground that the burden, expense and
lb       intrusiveness of the discovery outweighs the likelihood that the documents sought
17       will lead to the discovery of relevant evidence.
18       REQUEST NO. 3:
19                   All documents containing financial information, including but not limited to
20       historical and prospective performance, provided by MGA Entertainment, Inc. to
21       Omni 808 Investors, LLC, or any subsidiary or aff liate of Omni SOS Investors,
22       LLC, since January 1, 2007.
23               P         E TO,.REC,^UEST N0.3:
24                   In addition to the general objections set forth-above, Omni objects to this
2S       request on the ground that it is overly broad and unduly burdensame. Omni further
2s       objects to the request on the ground that it seeks documents that contain private,
27       confidential or proprietary fnancial information. Omni further objects to the
zs       request on the ground that t           urden expense and intrusiveness of the discovery
         N72S 16085 . 3/3009108-0000335032   ^^^ I
                                                     B   ^^ - 4 -

           NON-PARTY OMNI 808 iNVE^^^             DOCUMENTST MATTEL, INC.'S
                        SUBPOEN      I-^I^
                                      ,LC'S O^OSF
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 38 of 90 Page ID
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     1    outweighs the likelihood that the documents sought will lead to the discovery of
     2    relevant evidence.
     3    REQUEST N0.4:
     4              Documents suff cient to identify (a} each member, managing member,
     S    holder of any ownership interest in , shareholder, officer and director of Omni 808
 6        Investors , LLC and {b) the dates of such person's affiliation with Omni 808
 7        Investors, LLC.
 8        RESPONSE TO REQUEST N0.4:
 9                 In addition to the general objections set forth above, Omni objects to this
10       request on the ground that it seeks private , confidential and proprietary information
11       of Omni and other non-parties. Omni further objects to the request on the ground
IZ       that it is overly broad, unduly burdensome , oppressive and harassing. Omni
13       further objects to the request on the ground that the burden, expense and
I4       intrusiveness of the discovery outweighs the likelihood that the documents sought
15       will lead to the discovery of relevant evidence.
16       REQUEST NO. S:
17                 AlI documents referring or relating to the formation and governance of Omni
1S       808 Investors, LLC.
I9       RESPONSE TO RE UEST NO. S:
20                 In addition to the general objections set forth above , Omni objects to this
2I       request on the ground that it seeks private, conf dential and proprietary information
22       of Omni. Omni further objects to the request on the ground that it is overly broad,
23       unduly burdensome, oppressive and harassing. Omni further objects to the request
24       on the ground that the burden , expense and intrusiveness of the discovery
2S       outweighs the likelihood that the documents sought will lead to the discovery of
26       relevant evidence . Omni further objects to the request on the ground that it seeks
27       documents that are protected by the attorney --client privilege and attorney work
28       pz•oduct doctrine . Ornni further objects to the request on the ground that it is
         Al72S1GOS53/3009103 -0000335US2              .. 5

           NON-PARTY OMNI 808                              TIONS TO DEFENDANT MATTEL, INC.'S
                        SUBP               OR THE    O UCTiON' OF DOCUMENTS
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     1    vague, ambiguous and fails to identify the documents with Buff cient particularity.
     2    REQUEST NO.6:
     3              All documents detailing or setting forth the relationship between Omni 808
     4    Investors , LLC and OmniNet Capital, LLC, if any.
     5    RESPONSE TO, REQUEST N0.6:
 6                  1"n addition to the general objections set forth above, Omni objects to this
 7        request on the ground that it seeks private, confidential and proprietary information
 8        of Omni and other non-parties. Omni further objects to the request on the ground
 9        that it is overly broad, unduly burdensome, oppressive and harassing. Omni
10        further objects to the request on the ground that the burden, expense and
I1        intrusiveness of the discovery outweighs the likelihood that the documents sought
12       will lead to the discovery of relevant evidence. Omni fiarther objects to the request
13       on the ground that it seeks documents that are protected by the attorney-client
14       privilege and attorney work product doctrine. Omni further objects to the request
1S       on the ground that it is vague, ambiguous and fails to identify the documents with
16       sufficient particularity.
17       REQUEST N0.7:
18                 All documents detailing or setting forth the relationship between Omni 808
19       Investors , LLC and Vision Capital, LLC, if any.
20       RESPONSE _TO REQUEST N0.7:
21                 In addition to the general objections set forth above, Omni objects to this
22       request on the ground that it seeks private, confidential and proprietary information
23       of Omni and other non-parties. Omni further objects to the request on the ground
24       that it is overly broad, unduly burdensome, oppressive and harassing. Omni
25       further objects to the request on the ground that the burden, expense and
26       intrusiveness of the discovery outweighs the likelihood that the documents sought
27       will lead to the discovery of relevant evidence. Omni further objects to the request
28       on the ground that it seeks documents that are protected by the attorney-client
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           NON-PARTY OMNI 808 INVEST^^^'S C                                 vDANT MATTEL, INC.'S
                       SUBPOENA     -^  PRO                                 EN1'S
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 40 of 90 Page ID
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     1    privilege and attorney work product doctrine. Omni further objects to the request
 2        on the ground that it is vague, ambiguous and fails to identify the documents with
 3        sufficient particularity.
 4       REQUEST NO. S:
 5                 All documents detailing or setting forth the relationship between Omni 808
 6       investors , LLC and Lexington Financial , LLC, if any.
 7       RESPONSE TO REQUEST NO. S:
 8                 In addition to the general objections set forth above , Omni objects to this
 9       request on the ground that it seeks private, confidential and proprietary information
10       of Ornni and other non-parties. Ornni further objects to the request on the ground
11       that it is overly broad, unduly burdensome, oppressive and harassing. Omni
12       further objects to the request on the ground that the burden, expense and
13       intrusiveness of the discovery outweighs the likelihood that the documents sought
14       will lead to the discovery ofrelevant evidence. Omni further objects to the request
1S       on the ground that it seeks documents that are protected by the attorney-client
16       privilege and attorney work product doctrine. Omni further objects to the request
17       on the ground that it is vague, ambiguous and fails to identify the documents with
18       sufficient particularity.
19       REQUEST„N0.9•
20                All documents detailing or setting forth the relationship between Omni 808
21       Investors, LLC and MGA Entertainment, Inc., if any.
22       RESPONSE TO REQUEST NO. 9:
23                In addition to the general objections set forth above, Omni objects to this
24       request on the ground that it seeks private, confidential and proprietary information
25       of Omni. Omni further objects to the request on the ground that it is overly broad,
26       unduly burdensome, oppressive and harassing. Omni further objects to the request
27       on the ground that the burden,. expense and intrusiveness of the discove>y
28       outweighs the likelihood that the documents sought will lead to the discovery of
         ^V72A16D35.3/30D9103-0000335032             _ '] _

          NON-PACtTY OMNI 808 INVEST              'S             :^;Q.^,D^^ENDANT MATTEt,, INC.'S
                                                                 •.T':r   .^ 1..

                        SUBPOENA              ^ -PROD         N.OF DOl✓I^JMENTS
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 41 of 90 Page ID
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     1 ^ relevant evidence . Omni further objects to the request on the ground that it seeks
 2       documents that are protected by the attorney-client privilege and attorney work
 3       product doctrine . Omni further objects to the request on the ground that it is
 4       vague, ambiguous and fails to identify the documents with sufficient particularity.
 S       REQUEST NO. 10:
 6                All documents detailing or setting forth the relationship between Omni 808
 7       Investors , LLC and Isaac Larian and his family members , if any.
 S       RESPONSE TO RE UEST NO. 10:
 9                In addition to the general objections set forth above , Omni objects to this
10       request on the ground that it seeks private, confidential and proprietary information
11       of Omni and other non-parties. Omni further objects to the request on the ground
12       that it is overly broad , unduly burdensome , oppressive and harassing. Omni
13       further objects to the request on the ground that the burden , expense and
14       intrusiveness of the discovery outweighs the likelihood that the documents sought
1S       will lead to the discovery of relevant evidence . Omni further objects to the request
16       on the ground that it seeks documents that are protected by the attorney-client
17      privilege and attorney work product doctrine . Omni further objects to the request
18      on the ground that it is vague , ambiguous and fails to identify the documents with
19      sufficient particularity.
20      REQUEST NO. 11:
21                All documents referring or relating to the source of funding for Lexington
22      Financial, LLC.
23      RESPONSE TO REQUEST NO. 11:
24                In addition to the general objections set forth above, Omni objects to this
2S      request on the ground that it seeks private, conf dential and proprietary information
26      of Omni and other non-parties. Omni further objects to the request on the ground
27      that it is overly broad, unduly burdensome, oppressive and harassing. Omni
28      further objects to the request on they y^,round tl^at the burden, expense and
        A17281 G085 .313Q04103-00003350$2   ^^ j ^ f _Tg _

          NON-PARTY OMNI 808 INVESTO   S OB1                       _ ;D^F^NDANT MATTEL, CNC.'S
                                                                S TQ
                        SUBPOENA FO^^^                              C?^^'ivIENTS
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     1    intrusiveness of the discovery outweighs the likelihood that the documents sought
  2       will lead to the discovery of relevant evidence. Omni further objects to the request
  3       on the ground that it seeks documents that are protected by the attomey-client
 4       privilege and attorney work product doctrine. Omni further objects to the request
 5       on the ground that it is vague, ambiguous and fails to identify the documents with
 6       cuff cient particularity.
 7       REQUEST NO. 12:
 S                 All documents referring or relating to the source of funding for Vision
 9       Capital, LLC.
10       RESPONSE TO REQUEST NO. 12:
11.                In addition to the general objections set forth above, Omni objects to this
12       request on the ground that it seeks private, conf dentiai and proprietary information
13       of Omni and other non-parties. Omni further objects to the request on the ground
14       that it is overly broad, unduly burdensome, oppressive and harassing. Omni
15       further objects to the request on the ground that the burden, expense and
16       intrusiveness of the discovery outweighs the likelihood that the documents sought
17       will lead to the discovery of relevant evidence. Omni further objects to the request
1S       on the ground that it seeks documents that are protected by the attomey-client
19       privilege and attorney work product doctrine. Omni further objects to the request
20       on the ground that it is Prague, ambiguous and fails to identify the documents with
21       sufficient particularity.
22       REQUEST NO. 13:
23                All documents referring or relating to all contributions, loans and any
24       sources of funding for Omni SOS Investors, LLC during the last twelve months,
25       including but not Iimited to agreements and/or contracts supporting these
26       transactions.
27       RESPONSE TO REQUEST NO. 13:
28                In addition to the general objections set forth above, Omni objects to this
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           NON-PARTY OMNI SOS INVE             LLC.               t;T^I^EFENDANT MATTEL, INC.'S
                                                                .'wi.e.M'.'c'

                         SUBPOEN               HE PRO        OIL OF''I^OCUMENTS
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          request on the ground that it seeks private, conf dential and proprietary information
     2    of Omni and other non-parties. Omni further objects to the request on the ground
     3    that it is overly broad, unduly burdensome, oppressive and harassing. Omni
 '4       further objects to the request on the ground that the burden, expense and
     5    intrusiveness of the discovery outweighs the likelihood that the documents sought
 6        will lead to the discovery of relevant evidence. Omni further objects to the request
 7        on the ground that it seeks documents that are protected by the attorney-client
 S        privilege and attorney work product doctrine. Omni further objects to the request
 9        on the ground that it is vague, ambiguous and fails to identify the documents with
10        sufficient particularity.
11        REQUEST NO. 14:
12                  All documents showing detail of all loan facilities with an indication of
13 ^ creditor and relevant terms.
14       RESPONSE TO RE VEST NO. 14:
15                  Tn addition to the general objections set forth above, Omni objects to this
16       request on the ground that it is unintelligible. Omni further objects to the request
17       on the ground that it seeks private, confidential and proprietary information of
18       Omni and other non-parties. Omni further objects to the request on the ground that
19       it is overly broad, unduly burdensome, oppressive and harassing. Omni further
20       objects to the request on the ground that the burden, expense and intrusiveness of
21       the discovery outweighs the likelihood that the documents sought will lead to the
22       discovery of relevant evidence. Omni further objects to the request on the ground
23       that it seeks documents that are protected by the attorney-client privilege and
24       attorney work product doctrine. Omni further objects to the request on the ground
25       that it is vague, ambiguous and fails to identify the documents with suff cient
2b       particularity.

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                                              E^#^^B^T ^
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           NON-PARTY OMNI 808 INVESTORS, LLC'S OB.IECTIONS TO DEFENDANT MATTEL, INC.'S
                         SUBPOCNA FOR THE PRODUCTION OF DOCUMENTS
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     1    REQUEST NO. IS:
 2                  All documents referring or relating to transactions involving any
 3        compensation, loans, advances, payments, fees or any other form of consideration
 4        paid by Omni 808 Investors, LLC to Isaac Larian, his family members, or
 5        aff Bates, or any other related party, including MGA Entertainment, Inc.
 6       RESPONSE TO RE UEST NO. 15:
 7                 In addition to the general objections set forth above, Omni objects to this
 S       request on the ground that it seeks private, confidential and proprietary information
 9       of Omni and other nonparties. Omni further objects to the request on the ground
10       that it is overly broad, unduly burdensome, oppressive and harassing. Omni
1I       further objects to the request on the ground that the burden, expense and
12       intrusiveness of the discovery outweighs the likelihood that the documents sought
13       will lead to the discovery of relevant evidence. Omni further objects to the request
14       on the ground that it seeks documents that are protected by the attorney--client
1S       privilege and attorney work product doctrine. Omni further objects to the request
I6       on the ground that it is vague, ambiguous and fails to identify the documents with
17       cuff cient particularity.
1S       REQUEST NO. 16:
19                 Any and all records that substantiate transfers of assets by Omni 808
20       Investors, LLC to other entities, individuals and/or parties,.within the U.S. and
2I       outside of the U.S.
22       RESPONSE_TO REQUEST NO. 16:
23                 In addition to the general objections set forth above, Omni objects to this
24       request on the ground that it seeks private, confidential and proprietary information
25       of Omni and other non-parties. Omni further objects to the request on the ground
26       that it is overly broad, unduly burdensome, oppressive and harassing. Omni
27       further objects to the request on the ground that the burden, expense and
28       intrusiveness of the discove        out     s the likelihood that the documents sought
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           NON-PARTY OMNI 808 INVESI^SLC'S O                  ONS TO DEFENDANT MATTEL, INC.'S
                       SUBPOENA    pp^^ I^                      OF DOCllMENTS
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 45 of 90 Page ID
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     1    will Iead to the discovery of relevant evidence. Omni further objects to the request
     2    on the ground that it seeks documents that are protected by the attorney-client
 3        privilege and attorney wark product doctrine . Omni further objects to the request
 4        on the ground that it is vague , ambiguous and fails to identify the documents with
 5        sufficient particularity.
 6        REQUEST NO. 17•
 7                 All communications referring or relating to Vision Capital , LLC, Lexington
 S       Financial , LLC, Mattel , MGA, Isaac Larian , Fred Mashian andlor Bratz.
 9       RESPONSE TO REQUEST_N4. i7:
10                 In addition to the general objections set forth above , Omni objects to this
11       request on the ground that it seeks private, confidential and proprietary information
12       of Omni and other non-parties. Omni further objects to the request on the ground
13       that it is overly broad , unduly burdensome , oppressive and harassing. Omni
14       further objects to the request on the ground that the burden, expense and
15       intrusiveness of the discovery outweighs the likelihood that the documents sought
16       will Iead to the discovery of relevant evidence . Omni further objects to the request
17       on the ground that it seeks documents that are protected by the attorney- client
18       privilege and attorney work product doctrine . Omni further objects to the request
19       on the ground that it is vague, ambiguous and fails to identify the documents with
20       sufficient particularity.
2i       REQUEST NO. 18:
22                All documents relating to the U.C.C . financing statements and amendments
23       attached as Exhibit 1.
24       RESPONSE TO REQUEST NO. 18:
25                In addition to the general objections set forth above, Omni objects to this
2b       request on the ground that it seeks documents that are protected by the attorney-
27       client privilege and attorney work product doctrine . Omni further objects to the
28       request on the ground that it is overt broad , unduly burdensome , oppressive and
         N72816085 .313009308-000033^U82   ^^^ ^ R ^^ _ 1^ _

           NON-PARTY OMNI 808 INVL                 LC'S        IONS TO DEFENDANT MATTEL, INC.'S
                         SUI3POEN                                 OF DOCUMENTS
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                                     f ^'                             {,. .




 1    harassing. Omni further objects to the request on the ground that it seeks
 2    documents that contain private, conf dential or proprietary information of Omni or
 3   other non-parties. Omni further objects to the request on the ground that the
 4   burden, expense and intrusiveness of the discovery outweighs the likelihood that
 5'^ the documents sought will lead to the discovery of relevant evidence.
 6
 7   DATED: January 28, 2009                         Bingham McCutchen LLP
 8
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                                                       •            ^_..
10                                                     To   E. Gordinier
                                                       Attorneys for Non-party
it                                                     Omni 808 Investors, LLC
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       NON-PARTY OMNI 808 INVESTORS, LLC'S OBJECTIONS TO DEFENDANT MATTEL, INC.'S
                     SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 47 of 90 Page ID
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                                         PROOF OF SERVICE
 2              I am over 18 years of age, not a party to this action and employed in the
 3     County of Orange, California at 600 Antan Boulevard, 18th Floor, Costa Mesa,
 4     California 92626-1924. I am readily familiar with the practice of this office for
 5     collection and processing of correspondence for mailing with the United States
 6     Postal Service and correspondence is deposited with the United States Postal
 7     Service that same day in the ordinary course of business. On January 2$, 2009, I
 8     served the attached:
 9           NON-PARTY OMNI 808 INVESTORS, LLP'S OBJECTIONS TO
             DEFENDANT MATTEL, ZNC.'S SUBPOENA FOR THE
10           PRODUCTXON OF DOCUMENTS

11       ❑      (BY FAX) by transmitting via facsimile the document{s} listed above to the
                fax number( s) set forth below on this date before 5:00 p.m.
12
         [^(BY MAIL} by causing a true and correct copy of the above to be placed in
13           the United States Mail at Costa Mesa , California in sealed envelope {s} with
14           postage prepaid, addressed as set forth below. I am readily familiar with this
             law firm ' s practice for collection and processing of con respondence for
15           mailing with the United States Postal Service. Correspondence is deposited
1b           with the United States Postal Service the same day it is left for collection and
                processing in the ordinary course of business.
17
         ❑ (EXPRESS MAIL/ OVERNIGHT DELIVERY ) by causing a true and correct
18         copy of the document {s) listed above to be delivered by                in sealed
19         envelope{s} with all fees prepaid at the address { es} set forth below.

20               VIA EMAIL) by transmitting via email the document{s} listed above on this
                date before 5:00 p.m. PST to the person(s) at the email address{es) set forth
21              below.
22                               PLEASE SEE ATTACHED SERVYCE LIST
23              I declare that I am employed in the office of a member of the bar of this
24     court at whose direction the service was made and that this declaration was
25     executed on January 28, 2009.
26
27
                                                      ^^ Julie Valenzuela
28
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                                         EXHIBIT
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                                      #:149117



 1                                      SERVICE LIST
 2
       QU1NN EMANUEL URQUHART                 SKADDEN ARPS SLATE MEAGHER
 3
       OLTVER & HEDGES, LLP                   & FLOM, LLP
 4     Ton D. Corey, Esq.                     Thomas Nolan, Esq.
       86S S . Figueroa St ., 10th Fl.        300 S. Grand Ave., Ste. 3400
 5
       Los Angeles , CA 900172543             Los Angeles, CA 90071
 6     Tele. No. (213) 443-3000               Tele. No. (213) 687--5250
       Fax No . (213} 443-3100                Fax No. (213) 621-5250
 7
       Email joncorey^a quinnemanuel.com      Email thomas.nolan@skadden.com
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                                        EXHIBIT ^_
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                                 #:149118




                        E XHIBIT 8
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 50 of 90 Page ID
                                      #:149119


     1    Bingham McCutchen LLP
          TODD E. GORDINIER ( SBN 82200)
     2    PETER N. VILLAR {SBN 204038}
          JENNIFER A. LOPEZ (SBN 232320)
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     7    Attorneys for Non-party
          VISION CAPITAL, LLC
     8
                                     UNITED STATES DISTRICT COURT
 9
                                 CENTRAL DISTRICT OF CALIFORNIA
10
                                            EASTERN DIVISION
1X
12
          Carter Bryant, an individual,             Case No. CV 04-9049 SGL (RNBx}
I3 '
                         Plaintiff
14
                               v.                   NON--PARTY VISION CAPITAL,
15                                                  LLC'S OBJECTIONS TO
         Mattel, Inc., a Delaware Corporation,      DEFENDANT MATTEL, INC.'S
16                                                  SUBPOENA FOR THE
                         Defendant.                 PRODUCTION OF DOCUMENTS
17
1S                                                  Judge:     Hon. Stephen G. Larson
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                                                    v-
              NON-PARTY VISION CAPITAL, LLC'S OBJECTIONS TO DEFENDANT MATTEL, INC.'S
                          SUBPOENA FOR Tf-IE PRODUCTION OF DOCUMEN"I'S
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                     Pursuant to Federal Rule of Civil Procedure 45, non-party Vision Capital,
     2     LLC ("Vision Capital"} hereby responds to the Subpoena for the production of
     3     documents (hereafter, " the Subpoena") served in this action by defendant Mattel,
     4     Znc., as follows:
     5
     6                                PRELIMINARY STATEMENT
     7               These responses are based solely on the facts, information and documents
     S    presently known and available to Vision Capital. Vision Capital 's search for and
     9    review of potentially responsive documents is ongoing and may disclose the
10 , existence of additional facts, information or documents, or possibly lead to
11        additions or changes to these responses. Vision Capital reserves the right to revise
12        or supplement these responses if and when additional facts, information or
13        documents are discovered.
14                  The inadvertent production of proprietary, confidential, highly confidential,
15        or privileged documents or information by Vision Capital does not and shall not
16       constitute waiver of any applicable privilege, rights under any protective order or
17       trade secret, nor should production of any document or information be construed to
18       waive any objection to the admission of such documents or information in
19       evidence, including without limitation that of relevancy.
20
21                                       GENERAL OBJECTIONS
22                  1.    Vision Capital objects to the Subpoena, and each document request
23       contained therein, to the extent and on the ground that it seeks documents that are
24       protected by any applicable privilege, doctrine or immunity, including without
25       limitation, the attorney-client privilege and the attorney work product doctrine.
26                 2.     Vision Capital objects to the Subpoena , and each document request
27       contained therein , to the extent and on the ground that the Subpoena was not
?8                                      EXH^B^T ^
         AXXXXXXXX. E

               NON-PARTY VISION CAPITAL, LL            TO DEFENDANT MATTEL, INC.'S
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     1     properly issued or served, or otherwise fails to comply with the Federal Rules of

     2     Civil Procedure.

     3              3.   Vision Capital objects to the Subpoena, and each document request
     4    contained therein , to the extent and on the ground that it seeks documents which
     5    contain private, confidential or proprietary information of Vision Capital or its
     6    clients or employees , or where disclosure would invade the privacy rights of

     7    Vision Capital or its clients or employees.
     8             4.    Vision Capital objects to the Subpoena , and each document request
 9        contained therein, to the extent and on the ground that it seeks documents that are
10        nat relevant to the parties' claims or defenses asserted in the action.
11                 5.    Vision Capital objects to the Subpoena, and each document request
12        contained therein , to the extent and on the ground that the burden , expense or
13        intrusiveness of the discovery outweighs the likelihood that the documents sought
14       will lead to the discovery of relevant evidence.
15                 6.    Vision Capital objects to the Subpoena, and each document request
16       contained therein, to the extent and on the ground that it seeks documents from
17       non--party Vision Capital that are equally or more readily available and attainable
1S       from parties to the action.
19                 7.    Vision Capital objects to the Subpoena, and each document request
20       contained therein, to the extent and on the ground that it is vague , ambiguous or
21       fails to identify the documents sought with sufficient particularity.
22                 8.    Vision Capital objects to the Subpoena, and each document request
23       contained therein , to the extent and on the ground that it is overly broad, unduly
24       burdensome, oppressive or harassing.
25                9.     Vision Capital objects to the Subpoena, and each document request
26       contained therein, to the extent and on the ground that it seeks documents from
27       sources that are not reasona^^b--l^^y accessible and would subject the responding party
28       to undue burden and expen^d1^ ^ ^ ^T
         N728233G7. 1                  Pl R n 1"    ^^   r1

              NON-PARTY VISION CAPITAL, LL             TO DEFENDANT MATTEL, INC.'S
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     1              la.   Vision Capital objects to the Subpoena, and each document request
     2    contained therein, to the extent and on the ground that it requires the production of
     3    documents that are subject to a confidentiality or nondisclosure agreement.
     4             ^ 1.   Vision Capital objects to the Subpoena, and each document request
     S    contained therein, on the ground that the place, date and time for compliance is not
     6    reasonable or sufficient given the scope of the requests.
     7             12.    Vision Capital objects to the production of any documents under the
     8    Subpoena unless and until there is an acceptable protective order issued by the
     9    Court.
10                 In addition to these general objections which are incorporated into each and
11       every response herein, Vision Capital specifically responds to each individual
12       document request as follows:          -
13
14                 SPECIFIC OBJECTIONS TO RE UESTS FOR PRODUCTION
15       R^UEST NO. 1:
16                 All documents referring or relating to agreements, contracts or transactions
17       between MGA Entertainment, Inc. and Vision Capital, LLC or any subsidiary or
18       affiliate of Vision Capital , LLC and any amendments or modifications thereto, and
19       any communications referring or relating to any such agreements, contracts or
za       transactions.
21       RESPONSE TO RE VEST NO. X
22              In addition to the general objections set forth above, Vision Capital objects
23       to this request on the ground that it seeks documents that are protected by the
24       attorney-client privilege and attorney work product doctrine. Vision Capital
25       further objects to the request on the ground that it is overly broad and unduly
2b       burdensome. Vision Capital further objects to the request on the ground that it
27       seeks documents that contain private, confidential or proprietary information of
2g       Vision Capital or other non       ^g    isio^ a ital further objects to the re uest
         Al728233G7.1                ^! ^i [^'^^          p             J              q
                                                   -  w ^

            NON-PARTY VISfON CAPI                  TO DEFENDANT MATTEL, 1NC.'S
                        SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
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     1   on the ground that the burden, expense and intrusiveness of the discovery
     2   outweighs the likelihood that the dacuments sought will lead to the discovery of
 3       relevant evidence.
 4       REQUEST N0.2:
 5              All documents referring or relating to agreements, contracts or transactions
 6       between Vision Capital , LLC, or any subsidiary or affiliate of Vision Capital, LLC,

 7       and Lexington Financial , LLC, or any subsidiary or affiliate of Lexington

 8       Financial , LLC, and any amendments or modif cations thereto, and any

 9       communications referring or relating to any such agreements , contracts or
10       transactions.

11       RESPONSE TO REQUEST N0.2:
12             l;n addition to the general objections set forth above, Vision Capital objects
13       to this request on the ground that it seeks private, confidential and proprietary
14       information of Vision Capital. Vision Capital further objects to the request on the
15       ground that it is overly broad, unduly burdensome, oppressive and harassing.
16 ; Vision Capital further objects to the request on the ground that the burden, expense
17       and intrusiveness of the discovery outweighs the likelihood that the documents
18       sought will lead to the discovery of relevant evidence. Vision Capital further
19       objects to the request on the ground that it seeks documents that are protected by
20       the attorney-client privilege and attorney work product doctrine. Vision Capital
21       further objects to the request on the ground that it is vague, ambiguous and fails to
22       identify the documents with sufficient particularity.
23       REQUEST N0.3:
24             All documents referring or relating to agreements, contracts or transactions
25       between Vision Capital, LLC, or any subsidiary or affiliate of Vision Capital, LLC,
26       and Omni 808 investors, LLC, or any subsidiary or affiliate of Omni 808 Investors,
2^       LLC, or any subsidiary or aff^vl/iate of Omni 808 investors , LLC, and any
                                              ©©
28                                    ^!`^^U^^

            NON-PARTY VISION CAPITAL,               TO DEFENDANT MATTCL, INC.'S
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     1    amendments or modifcations thereto, and any communications referring or
 2       relating to any such agreements, contracts or transactions.
 3       RESPONSE TO REQUEST N0.3:
 4                  In addition to the general objections set forth above, Vision Capital objects
 5       to this request on the ground that it seeks private, confidential and proprietary
 6       information of Vision Capital . Vision Capital further objects to the request on the
 7       ground that it is overly broad , unduly burdensome, oppressive and harassing.
 S       Vision Capital further objects to the request on the ground that the burden, expense
 9       and intrusiveness of the discovery outweighs the likelihood that the documents
10       sought will lead to the discovery of relevant evidence . Vision Capital further
Il       objects to the request on the ground that it seeks documents that are protected by
12       the attorney-client privilege and attorney work product doctrine . Vision Capital
13       further objects to the request on the ground that it is vague, ambiguous and fails to
I4       identify the documents with suff cient particularity.
IS       REQUEST NO. 4:
16                 All documents containing financial information , including but not limited to
17       historical and prospective performance, provided by MGA Entertainment, Inc. to
18       Vision Capital, LLC, or any subsidiary or affiliate of Vision Capital, LLC since
19       7anuary 1, 2007.
20       RESPONSE TO REQUEST NO. ^:
21                 In addition to the general objections set forth above, Vision Capital objects
22       to this request on the ground that it is overly broad and unduly burdensome.
23       Vision Capital further objects to the request on the ground that it seeks documents
24       that contain private , confidential or proprietary f nancial information. Vision
25       Capital further objects to the request on the ground that the burden, expense and
26       intrusiveness of the discovery outweighs the Iikelihood that the documents sought
27       will lead to the discovery of relevant evidence.
28                                        C^ ^^B ^T
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               NON-PARTY VISION CAPITA , LC'
                                            , ^^
                                          ^?W '^      -J-^   3^ r
                                              JECTIONS TO DEFENDANT MATTEL, 1NC.'S
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       1    REQUEST NO. S•
     2                Documents cuff dent to identify (a) each member , managing member,
     3      holder of any ownership interest in, shareholder, officer and director of Vision
     4      Capital, LLC and ( b) the dates of such person ' s affiliation with Vision Capital,
     5      LLC.
     6      RESPONSE TO RE VEST NO. S:
     7                In addition to the general objections set forth above , Vision Capital objects
            to this request on the ground that it seeks private, conf dential and proprietary
  9         information of Vision Capital and other non-parties. Vision Capital further objects
to          to the request on the ground that it is overly broad , unduly burdensome, oppressive
l ^.        and harassing . Vision Capital further objects to the request on the ground that the
12          burden, expense and intrusiveness of the discovery outweighs the likelihood that
13         the documents sought will lead to the discovery of relevant evidence.
14         REQUEST N0.6:
15                   All documents referring or relating to the formation and governance of
16         Vision Capital, LLC.
17         RESPONSE TO RE UEST NO. 6:
18                   Yn addition to the general objections set forth above , Vision Capital objects
19         to this request on the ground that it seeks private , conf dential and proprietary
20         information of Vision Capital . Vision Capital further objects to the request on the
21         ground that it is overly broad , unduly burdensome , oppressive and harassing.
22         Vision Capital further objects to the request on the ground that the burden , expense
23         and intrusiveness of the discovery outweighs the likelihood that the documents
24         sought will lead to the discovery of relevant evidence . Vision Capital further
2S         objects to the request on the ground that it seeks documents that are protected by
26         the attorney- client privilege and attorney work product doctrine . Vision Capital
27         further objects to the request on the ground that it is vague , ambiguous and fails to
28         identify the documents with ^i i^^p                   ty.
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                NON-PARTY VISION CAPIT     'S OI                       DEF'CNDANT MATTEL, INC.'S
                            SUBPOENA FOR THE PR                        DOCUMENTS
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          REQUEST NO.7:
     2           All documents detailing or setting forth the relationship between Vision
     3    Capital, LLC and OmniNet Capital, LLC, if any.
     4    RESPONSE TO REQUEST N0.7:
     5           In addition to the general objections set forth above , Vision Capital objects
     6    to this request on the ground that it seeks private , confidential and proprietary
     7    information of Vision Capital and other non-parties . Vision Capital further objects
     8    to the request on the ground that it is overly broad, unduly burdensome , oppressive
     9    and harassing . Vision Capital further objects to the request on the ground that the
 IO       burden, expense and intrusiveness of the discovery outweighs the likelihood that
11       the documents sought will lead to the discovery of relevant evidence . Vision
12       Capital further objects to the request on the ground that it seeks documents that are
13       protected by the attorney-client privilege and attorney work product doctrine.
14       Vision Capital further objects to the request on the ground that it is vague,
15       ambiguous and fails to identify the documents with suff cient particularity.
I6       REQUEST N0.8:
17              All documents detailing or setting forth the relationship between Vision
18       Capital , LLC and Omni 808 Investors, LLC, if any.
19       RESPONSE TO RE VEST NO.8:
20              In addition to the general objections set forth above , Vision Capital objects
21       to this request on the ground that it seeks private , confidential and proprietary
22       information of Vision Capital and other non-parties . Vision Capital further objects
23       to the request on the ground that it is overly broad , unduly burdensome, oppressive
24       and harassing . Vision Capital further objects to the request on the ground that the
25       burden, expense and intrusiveness of the discovery outweighs the likelihood that
2G       the documents sought will lead to the discovery of relevant evidence . Vision
27       Capital further objects to the request on the ground that it seeks documents that are
28       protected by the attorney-client privilege and attorney work product doctrine.
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            NON-PARTY VISION CAP                              TO DEPENDANT MATTEL, INC.'S
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     1     Vision Capital further objects to the request on the ground that it is vague,
     2     ambiguous and fails to identify the documents with cuff cient particularity.
     3     RE VEST N0.9:
     4               All documents detailing or setting forth the relationship between Vision
     5    Capital, LLC and Lexington Financial , LLC, if any.
     6    RESPONSE TO.REQUEST NO. 9:
     7               In addition to the general objections set forth above, Vision Capital objects
     S    to this request on the ground that it seeks private, confidential and proprietary
 9        information of Vision Capital and other non-parties. Vision Capital further objects
10        to the request on the ground that it is overly broad, unduly burdensome, oppressive
lI        and harassing. Vision Capital further objects to the request on the ground that the
12        burden, expense and intrusiveness of the discovery outweighs the likelihood that
13        the documents sought will lead to the discovery of relevant evidence. Vision
14        Capital further objects to the request on the ground that it seeks documents that are
15       protected by the attorney-client privilege and attorney work product doctrine.
16       Vision Capital further objects to the request on the ground that it is vague,
17       ambiguous and fails to identify the documents with suff cient particularity.
18       RE UEST NO. 10:
19                  All documents detailing or setting forth the relationship between Vision
20       Capital, LLC and MGA Entertainment , Inc., if any.
21       RESPONSE TO RE VEST NO. 10:
22                  In addition to the general objections set forth above, Vision Capital objects
23       to this request on the ground that it seeks private, conf dential and proprietary
24       information of Vision Capital. Vision Capital further objects to the request on the
2^       ground that it is overly broad, unduly burdensome, oppressive and harassing,
26       Vision Capital further objects to the request on the ground that the burden, expense
27       and intrusiveness of the discovery outweighs the likelihood that the documents
28       sought will lead to the discover of relevant evidence. Vision Capital further
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               NON-PARTY VISION CAPI^^ ^ 'S                      TO DEFENDANT MATTEL, INC.'S
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     1    objects to the request on the ground that it seeks documents that are protected by
 2        the attorney-client privilege and attorney work product doctrine. Vision Capital
 3        further objects to the request on the ground that it is vague , ambiguous and fails to
 4        identify the documents with sufficient particularity.
 S        REQUEST NO. 11:
 6                   All documents detailing or setting forth the relationship between Vision
 7        Capital, LLC and Isaac Larian and his family members , if any.
 8        RESPONSE TO REQUEST NO. ^ l
 9                   in addition to the general objections set forth above, Vision Capital objects
10       to this request on the ground that it seeks private , conf dential and proprietary
11       information of Vision Capital and other non -parties. Vision Capital further objects
12       to the request on the ground that it is overly broad , unduly burdensome, oppressive
13       and harassing . Vision Capital further objects to the request on the ground that the
I4       burden, expense and intrusiveness of the discovery outweighs the likelihood that
15       the documents sought will lead to the discovery of relevant evidence . Vision
16       Capital further objects to the request on the ground that it seeks documents that are
17       protected by the attorney -client privilege and attorney work product doctrine.
1S       Vision Capital further objects to the request on the ground that it is vague,
19       ambiguous and fails to identify the documents with sufficient particularity.
20       REQUEST NO. 12•
21                  All documents referring or relating to the source of funding or credit for
22       Lexington Financial, LLC.
23       RESPONSEE_ _TO REQUEST NO. X2:
24                  In addition to the general objections set forth above , Vision Capital objects
25       to this request on the ground that it seeks private, conf dential and proprietary
2b       information of Vision Capital and other nonparties . Vision Capital further objects
27       to the request on the ground that it is overly broad, unduly burdensome , oppressive
28       and harassing . Vision Ca t 1 further objects to the request on the ground that the
         A/728?33G7 . l                 ^^ ^ ^ ^ T     _ 9^

               NON-PARTY VISION CA ^  LC'S O                  NS TO DEFENDANT MATTEL, INC.'S
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     1        burden, expense and intrusiveness of the discovery outweighs the likelihood that
     2        the documents sought will lead to the discovery of relevant evidence. Vision
     3        Capital further objects to the request on the ground that it seeks documents that are
 4            protected by the attorney-client privilege and attorney work product doctrine.
 5            Vision Capital further objects to the request on the ground that it is vague,
 6            ambiguous and fails to identify the documents with sufficient particularity.
 7           REQUEST NO. 13:
                       All documents referring or relating to the source of funding or credit for
 9           Omni 80$ Investors, LLC.
10           RESPONSE TO RE UEST NO. 13:
11                     In addition to the general objections set forth above, Vision Capital objects
12           to this request on the ground that it seeks private, confidential and proprietary
13           information of Vision Capital and other non-parties. Vision Capital further objects
14           to the request on the ground that it is overly broad, unduly burdensome, oppressive
15           and harassing. Vision Capital further objects to the request on the ground that the
16           burden, expense and intrusiveness of the discovery outweighs the likelihood that
17           the documents sought will lead to the discovery of relevant evidence. Vision
18           Capital further objects to the request on the ground that it seeks documents that are
19           protected by the attorney--client privilege and attorney work product doctrine.
20           Vision Capital further objects to the request on the ground that it is vague,
21           ambiguous and fails to identify the documents with sufficient particularity.
22           RE UEST NO. 14:
23                     All documents referring or relating to the source of funding or credit for
24           MGA Entertainment, Inc. or any of its subsidiaries or affiliates.
zs           RESPONSE TO REQUEST NO. 14:
26                     In addition to the general objections set forth above, Vision Capital objects
27           to this request on the ground that it is overly broad and unduly burdensome.
?g           Vision Capital further obje                quest o      ground that it seeks documents
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         -         -                          - -         ..,r
                  NQN-PARTY VISION CAPI'^                         S TO DBFIaNDANT MATTEL, 1NC.'S
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     I     that contain private , conf dential or proprietary financial information . Vision
     2     Capital further objects to the request on the ground that the burden , expense and
     3     intzusiveness of the discovery outweighs the likelihood that the documents sought
     4     will lead to the discovery of relevant evidence.
     5    REQUEST NO. 15:
     6               All documents referring or relating to all contributions , loans and any
     7    sources of funding for Vision Capital , LLC during the last twelve months,
     S    including but not limited to agreements and/or contracts supporting these
 9        transactions.
to        RESPONSE TO REQUEST NO. 15:
11                  In addition to the general objections set forth above , Vision Capital objects
12        to this request on the ground that it seeks private , confidential and proprietary
13        information of Vision Capital and other non--parties . Vision Capital further objects
14       to the request on the ground that it is overly broad , unduly burdensome , oppressive
15       and harassing . Vision Capital further objects to the request on the ground that the
16' burden, expense and intzusiveness of the discovery outweighs the likelihood that
17       the documents sought will lead to the discovery of relevant evidence . Vision
18       Capital further objects to the request on the ground that it seeks documents that are
19       protected by the attorney - client privilege and attorney wark product doctrine.
20       Vision Capital further objects to the request on the ground that it is vague,
21       ambiguous and fails to identify the documents with sufficient particularity.
22       REQUEST NO. 16:
23                 All documents showing detail of all loan facilities with an indication of
24       creditor and relevant terms referring or relating to MGA Entertainment, Inc.,
2S       OmniNet Capital, LLC, Omni 808 Investors, LLC, Lexington Financial; LLC or
26       any subsidiary or aff Bate of the foregoing , or to Isaac Larian or his family
27       members.
28
                                          E^ ^ ^ B ^   T
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               NON-PARTY VISION CAPITAL, LI.C'S OI37ECTIONS TO DEFENDANT MA^^'EL, INC.'S
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     1    RESPONSE TO RE UEST NO. I6:
     2              In addition to the general objections set forth above, Vision Capital objects
     3    to this request on the ground that it is unintelligible. Vision Capital further objects
     4    to the request on the ground that it seeks private, confidential and proprietary
     5    information of Vision Capital and other non-parties. Vision Capital further objects
 6        to the request on the ground that it is overly broad, unduly burdensome, oppressive
 7        and harassing. Vision Capital further objects to the request on the ground that the
 8        burden, expense and intrusiveness of the discovery outweighs the likelihood that
 9       the documents sought will Iead to the discovery of relevant evidence. Vision
10       Capital further objects to the request on the ground that it seeks documents that are
11       protected by the attorney-client privilege and attorney work product doctrine.
12       Vision Capital further objects to the request on the ground that it is vague,
13       ambiguous and fails to identify the documents with sufficient particularity.
14       RE UEST NO. I7:
1S                 All documents referring or relating to transactions involving any
16       compensation, loans, advances, payments, fees or any other form of consideration
17       paid by Vision Capital, LLC to Isaac Larian, his family members, or affiliates, or
18       any other related party, including MGA Entertainment, Inc.
19       RESPONSE TO REQUEST NO. 17:
20                 In addition to the general objections set forth above, Vision Capital objects
2i       to this request on the ground that it seeks private, conf dential and proprietary
22       information of Vision Capital and other non-parties. Vision Capital further objects
23       to the request on the ground that it is overly broad, unduly burdensome, oppressive
24       and harassing. Vision Capital further objects to the request on the ground that the
ZS       burden, expense and intrusiveness of the discovery outweighs the likelihood that
26       the documents sought will lead to the discovery of relevant evidence. Vision
27       Capital further objects to the request on the ground that it seeks documents that are
78       protected by the attorney-clie^i i^^^;ear.^d.a ` , ^ y,, w^ark product doctrine.
         N723233b7. l                     ^ ^ (^! ^'   - 12 - ^ ^i,^ }

              NON-PARTY VISION CAPITAL, LLC'S OBJECTIONS TO DEFENDANT MATTEL, INC.'S
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     1    Vision Capital further objects to the request on the ground that it is vague,
     2    ambiguous and fails to identify the documents with suff dent particularity.
     3    REQUEST NO. 18:
     4              Any and all records that substantiate transfers of assets by Vision Capital,
     5    LLC to other entities , individuals and/or parties, within the U.S. and outside of the
 6 I U.S.
 7        RESPONSE TO REQUEST NO. 18:
 8                  In addition to the general objections set forth above, Vision Capital objects
 9        to this request on the ground that it seeks private, conf dential and proprietary
10        information of Vision Capital and other non-parties . Vision Capital further objects
11       to the request on the ground that it is overly broad, unduly burdensome, oppressive
12       and harassing . Vision Capital further objects to the request on the ground that the
13       burden, expense and intrusiveness of the discovery outweighs the likelihood that
14       the documents sought will Iead to the discovery of relevant evidence . Vision
15       Capital further objects to the request on the ground that it seeks documents that are
16       protected by the attorney- client privilege and attorney work product doctrine.
17       Vision Capital further objects to the request on the ground that it is vague,
18       ambiguous and fails to identify the documents with sufficient particularity.
19       REQUEST NO. 19:
24                 All communications referring or relating to Omni 808 Investors, LLC,
Z1       Lexington Financial , LLC, Mattel, MGA, Isaac Larian, Fred Mashian and/or Bratz.
22                       NET O REQUEST
                                  ,_   NO. 19:
23                 In addition to the general objections set forth above , Vision Capital objects
24       to this request on the ground that it seeks private , confidential and proprietary
25       information of Vision Capital and other non-parties . Vision Capital further objects
26       to the request on the ground that it is overly broad , unduly burdensome , oppressive
27       and harassing. Vision Capital further objects to the request on the ground that the
78       burden, expense and i^^^^ssof the discovery outweighs the likelihood that
         ^V72323367. t                                 I j _ . -`:6:^= .';^.

               NON-PARTY VISIO      A              IONS TO DEFENDANT MATTEL, INC.'S
                            SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 64 of 90 Page ID
                                      #:149133


     1    the documents sought will lead to the discovery of relevant evidence . Vision
 2        Capital further objects to the request on the ground that it seeks documents that are
 3        protected by the attorney-client privilege and attorney work product doctrine.
 4        Vision Capital fitrther objects to the request on the ground that it is vague,
 5        ambiguous and fails to identify the documents with sufficient particularity.
 6       REQUEST N0.20:
 7                 All documents referring or relating to the U.C.C. financing statement
         attached as Exhibit 1 and/or security interest (s) allegedly reflected herein.
 9       RESPONSE TO REQUEST NO. 20:
10                 1!'n addition to the general objections set forth above , Vision Capital objects
11       to this request on the ground that it seeks documents that are protected by the

12       attorney-client privilege and attorney work product doctrine . Vision Capital
13       fixrther objects to the request on the ground that it is overly broad , unduly
14       burdensome, oppressive and harassing . Vision Capital fizrther objects to the
15       request on the ground that it seeks documents that contain private, conf dential ar
16       proprietary information of Vision Capital or other non-parties. Vision Capital
17       further objects to the request on the ground that the burden, expense and
18       intrusiveness of the discovery outweighs the likelihood that the documents sought
19       will lead to the discovery of relevant evidence.
20
21       DATED: January 28, 2009                   Bingham McCutchen LLP
22
23
24                                                                 Todd E . Gordinier
                                                                Attorneys for Non-pparty
25                                                               Vision Cap^taI, LLC
26
27
2s                                       EXHIBIT ^
         A1728233G7.                     PAGE ^ _ 14 -
              NON-PARTY VISION CAPITAL, LLC'S OB.TECTIONS TO DEFENDANT MATTEL, INC.'S
                           SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
     Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 65 of 90 Page ID
                                      #:149134



                                           PROOF OF SERVICE
 2                  I am over 18 years of age, not a party to this action and employed in the
 3     County of Orange, California at 600 Anton Boulevard, 1.8th Floor, Costa Mesa,
 4     California 92626-1924. I am readily familiar with the practice of this offce for
       collection and processing of correspondence far mailing with the United States
 6     Postal Service and correspondence is deposited with the United States Postal
 7     Service that same day in the ordinary course of business. On January 28, 2009, I
       served the attached:
 9                 NON--PARTY VISION CAPITAL, LLC'S OBJECTIONS TO
                   DEFENDANT MATTEL, INC.'S SUBPOENA FOR THE
1a                 PRODUCTION OF DOCUMENTS

11         ❑ (BY FAX) by transmitting via facsimile the document(s) listed above to the
             fax number (s) set forth below on this date before 5:00 p.m.
12
           [^{BY MAIL} by causing a tzue and correct copy of the above to be placed in
13            the United States Mail at Costa Mesa , California in sealed envelope{s) with
14            postage prepaid, addressed as set forth below. I am readily familiar with this
              law f rm ' s practice .for collection and processing of correspondence for
15            mailing with the United States Postal Service . Correspondence is deposited
16            with the United States Postal Service the same day it is left for collection and
                   processing in the ordinary course of business.
17
          ❑ (EXPRESS MAIL/OVERNIGHT DELIVERY) by causing a true and correct
18          copy of the document{s) listed above to be delivered by               in sealed
19          envelope{s ) with all fees prepaid at the addresses} set forth below.

20                 (VIA EMAIL} by transmitting via email the document {s) listed above on this
                   date before 5:00 p . m. PST to the person (s) at the email address (es) set forth
21                 below.
22                             PLEASE SEE ATTACHED SERVICE LIST
23                 I declare that I am employed in the office of a member of the bar of this
24    court at whose direction the service was made and that this declaration was
25    executed on January 28, 2009.
26
27
28                                      EXHIBIT                     7ul ie Va lenzuela
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         Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 66 of 90 Page ID
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     1                                   SERVICE ^LJST
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            QU1NN EMANUEL URQUHART               SKADDEN ARPS SLATE MEAGHER
 4
            OLIVER & HEDGES, LLP                 & FLOM, LLP
 5          Jon ID. Corey, Esq.                  Thomas Nolan, Esq.
            865 S. Figueroa St., 10th Fl.        300 S. Grand Ave., Ste. 3400
 6
            Los Angeles, CA 90017-2543           Los Angeles, CA 90071
 7        ^ Tele. No. (213) 443-3000             Tele. No. (213) 687--5250
            Fax No. (213) 443-3100               Fax No. (213} 621-5250
 8
            Email joncorey@quinnemanuel.com      Email thomas.nolan@skadden.com
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                        EXHIBIT 9
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                         Mr. MtGhael Zeller
                         Mr, Jan D. Corey
                         Quinn, l~mlanuel, Urquhart, Oliver & Hedges, LLP
                         865 South p'igueraa St., 10th Floor
                         Los Angeles, CA 90017

                         Mr. Neil Potisrhman
                        Davis Polk & Wardwell, LLP
                        ] G00 El Carr ixio Real
                        Menu Park, California 94425

                        Mr. Todd Gordinier
                        Bingham McCufchen, LI,P
                        500 Anton L^aulevard, l8th Floor
                        Costa Mesa, California 92Gry6

                        Mr. 3eff Valle
                        Va11e and Associates, LLP
                        1191,1 San Vicente Btvd., Suite 324
                        Los Angeles, CA 90049
                                                  RE:       11^atrel a Bryant

                        ©entlemen:

                                I am writing to confirtra tl^e agreement regarding the subpoenas issue by
                        Mattel tp XG'GVT $2G Investments, LLC, IGWT Group, LLC, 4miNet Capital, LLC,
                        Omni S(18 Investors, LLC, Vision Capital, LLC and Wachovia Cprporatian ( together
                        "the Subpoenas"). As discussed, all objections to the Subpoenas will be due on
                        Wednesday, January 2$, 2009. Counsel for the parties and third parties will then
                        meet and confer at mutually agreeable times on 7anuary 24 and 30, and any motions
                        to quash, for protective order, or to Gampel will bu due an Monday, February 2,
                        2049.




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    Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 69 of 90 Page ID
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1                  January 23, ?409
                   Pale 2



                               Thank you far your cooperation on these issues.

                                                                   Sincerely,



                                                                   Rab     7. H   gton

                   cc: Mr. Jason Russell




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                                                           EXHIBIT ^-
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Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 70 of 90 Page ID
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                       EXHIBIT 10
Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 71 of 90 Page ID
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February 2, 2009


VIA FACSIMILE AND U.S. MAIL

Peter N. Villar, Esq.
Bingham McCutchen LLP
600 Anton Boulevard 18th Floor
Costa Mesa, California 92626-1929


Re:        Mattel, Inc. v. MGA Entertainment , Inc. et al.

Dear Peter:

I write to memorialize our discussions of February 2, 2049 regarding Mattel's subpoenas to Omni
808 Investors, LLC, Omr^iNet Capital , LLC and Vision Capital, LLC.

You stated that Omni 808 and Vision Capital will not stipulate that they will produce alI non-
privileged documents responsive to the subpoenas if 1v1GA's anticipated motion to quash is
denied . Rather, you indicated that your clients are only willing to produce documents reflecting
(l) Wachovia Corporation's loan to MGA Entertainment , Inc., and (2) the assignment of the debt
from Wachovia to Omni 808 . In response, I stated that Mattel believes that the subpoenas
properly request relevant, discoverable information . You inquired whether Mattel would be
willing to put off its anticipated motion to compel until after the motion to quash is decided and,
if it was denied, to review the above-identified documents . I informed you that it was not in
Mattel' s interest to wait and resolve this piece-meal, particularly when the motion to quash, as I
have been informed by counsel for MGA, will not address any objections in the subpoenas, but
only whether the subpoenas are premature.

Separately, in response to your request I provided you with a copy of the subpoena that Mattel
served on OmniNet Capital with the proof of service, and you confirmed that your f rm will be
representing OmniNet Capital with respect to that subpoena. You informed me that the position



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 that you would take with respect to the OmniNet Capital subpoena is the same as the position as
 Omni $08 and Vision Capital.

 Finally, this will confirm our agreement reached on Friday, January 30, 2009 that,
 notwithstanding the prior agreement, that your clients would not argue that any motion to compel
 would be untimely in any way if not filed on Monday, February 2, 2009.

 Best regards,



 Jon Corey




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                            j PeterVillar, Esq.                                                            ^ 714.830.0640              ^ 714.830.0719
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                             1zROM :              Jon Corey


                             RE:                  NlatYel , Cnc, v. 1vIGA Entertainment, Inc. et a1.




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                       EXHIBIT 11
   Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 75 of 90 Page ID
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                   S                                 UNITED STATES DISTRICT COURT
                   9                             CENTRAL DISTRICT OF CALIFORNIA
                  10                                      EASTERN DIVISION
                  11     CARTER I3RYANT, an individual ,          CASF, NC}. CV 04-09049 SGL (RNBx)
                                                                  Consolidated with
                  12                    Plaintiff,                Case Nos. CV 04-09059 & CV 05-2727
                  13           vs.
                                                                  ORDER GRANTING MATTEL'S
                  14 MATTEL, INC., a Delaware                     MOTION FOR CONSTRUCTIVE
                         corporation,                             TRUST AND FOR FINDING
                  15                                              LIABILITY AND INJUNCTIVE
                                        Defendant.                RELIEF PURSUANT TO CAL. BUS. &
                  1b                                              PROF CODE ^ 172Q0

                  17 AND CONSOLIDATED ACTIONS
                  18
                  19
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                           ORDER GRANTING MATTEL' S MOTION FOR CONSTRUCTIVE TRUST AND PERMANENT INJUNCTION
   Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 76 of 90 Page ID
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                   C e 2:04-cv-09049-SQL-RNB        Document 444'1     Filed 12^U3/2008    Page 2 of 3



                   1                                         ORDER

                   2               Having considered Mattel, Int.'s ("Mattel") Motion for Constructive
                   3   Trust and for a Finding of Liability and Injunctive Relief Pursuant to California
                   4 Business & Professional Code § 17200, and all other papers and arguments
                   5 submitted in connection therewith, as well as the evidence admitted at trial and the
                   6 jury's verdicts in the Phase 1 trial, the Court hereby GRANTS the Motion against
                   7 MGA Entertainment Inc. ("MGA"}, MGA Entertainment (HK} Ltd. ("MGA bong
                   $ Kong"), and Isaac Larian ("Larian") (collectively the "MGA Defendants"):
                   9               1.     A constructive trust in favor of Matte] on all rights to trademarks,
                  14 service marks and domain names held by MGA ar Larian, or any person or entity
                  11   acting an their behalf or for their benefit, anywhere in the world that include the
                  12 terms "Bratz" or "Jade," including all such trademark registrations and trademark

                  13 applications (including, without limitation, United States Trademark Registrations
                  14 identified by Registration Nos. 3206114, 3327385, 3150045, 3087710, 3055465,

                  15   3072141, 3127890, 3024713, 2989052, 2911097, 3080450, 2921772, 3071614,
                  16 2803235, 2848386, 2795675, 2776558, 2848281, 2751890, 2571473, 2787942,
                  l7 2789216 and 2836784 and United States Trademark Applications identified by
                  18   Serial Nos. 78530196, 7$571028, 7$706504, 78706502, 78819868, 78857100,
                  19 78490324, 77443372 and 77575881), and the goad will inhering therein, as well as
                  20 all such domain name registrations, is HEREBY ORDERED and all rights therein
                  21   are ORDERED transferred to Mattel.
                  22               2.    MGA and Larian are HEREBY ORDERED to (a) identify all
                  23 trademark registrations and applications held by them, or any person ar entity acting
                  24 on their behalf or for their benefit, anywhere in the world that include the terms
                  25 "Bratz" or "Jade," (b) identify all marks that include the terms "Bratz" or ".lade" in
                  26 which they, or any person or entity acting on their behalf or for their benefit, claim
                  27 to own trademark rights, whether or not such marks are subject to existing
                  28 trademark registrations or pending trademark applications, (c) identify all domain
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                         ORRER G1tANTING MATTEL'S MOTION FOR CONSTRUCTIVETRUST AND PERMANIwNT INJUNCTION


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  Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 77 of 90 Page ID
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                  l names and domain name registrations held by them , ar any person or entity acting
                  2 on their behalf or for their benefit, anywhere in the world that include the terms
                  3 "$ratz" or "Jade," and {d) execute any and al ] documents necessary to effect the
                  4 transfer and/or assignment of such marks and domain names and associated
                  S applications and registrations to Mattel , MGA shall fully comply with (a), (b} and
                  6 {c} of this paragraph within fourteen (l4) calendar days of the date of this Order.
                  7                 3.     The Court HEREBY FINDS that the MGA Defendants violated
                  8 California Business and Professions Code § 17200 and are liable to Mattel an its
                  9 twelfth claim far relief for unfair competition.
                 IO                 4.     The MGA Defendants, along with their respective officers,

                 ll   directors,   principals,   agents,   representatives ,   servants ,   employees, affiliates,
                 l 2 successors or assigns, and any person or entity acting on their behalf or in concert ar
                 l3 participation with them , are HEREBY PERMANENTLY ENJOINED from (a}
                 1^ using the terms "Bratz" or "Jade," either alone or in combination and whether as a
                 ] 5 trademark, domain name or otherwise, in connection with the manufacture,
                 16 promotion , advertising , distribution , offering for sale or sale of any goods ar ',
                 l7 services anywhere in the world and {b} taking any action to preclude Mattel from '^
                                                          a
                 t $ using the terms "Bratz" or "Jade" in any such manner, including without limitation
                 l4 as a mark in connection with goods and services.
                 20                 IT 1S SO ORDERED.                      ^
                 2l
                 22 DATED : December 3, 2008                    f                                             __
                                                                    on. tep en        arson
                 23                                             United States District Judge

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                        ORDERGRANTING MATTEL' S MOT10N FOR CONSTRUCTIVE TRLfST AND PERMANENT INJU^IGTION




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Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 78 of 90 Page ID
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                       EXHIBIT 12
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  Febz-ztary 3, 2009


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 Todd E. Gorclinier, Csq.
 Peter N. Villar, Esq.
 Biz7ghanz McCutchen LL.P
 600 Anton Boulevard 18th Floor
 Costa Mesa, California 9262&-1921


 Re:         Mattel, Inc. v. MGA Entertainment. Inc. et al.

 Dear Counsel:

T received a copy of Omz7i 808 Investors, L.LC.'s ex pane application to intervene and a proposed
order and associated proof of service. l did not receive, however, a copy of tl7e Notice of
Interested Aarties required by Local Rule 7.I-1, which is required with an}r first appearance.
That Notice requires a party to "list all persons, associations of persons, firn7s, partnership and
coz-porations (including parent corporations clearly identified as such) which may have a
pecuz7iaz-y it7terest iz7 the outcome of the case". Local Rule 7.1-1.

Please le.t me know n^hen 1 can expect to receive a copy ol^ihat Notice , with the necessary
certification . Please note that if eve clo not receive the required disclosers:, eve wzll brtn^ the
failure to con7pl }- with the Rt:1es' requirez77ents to the Court' s attention and may ask that Omni
808's ex ^l irte be stricken.

Best regards,




Jon Corey


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          Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 80 of 90 Page ID
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                 QUINN EMANUEL URQUHART OL^VER & HEDGES, LLP
                                                                            LOS ANGELS
              NEW YORK                                                                                                                     SAN F}2ANCISCO
    51 Madison Avenue , 22nd Floor                                865 South Figueroa Street , 14th Floor
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         Todd E. Gordinier, Esq.                                                                714.830.0622                  714.830.0717
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         600 Anton Boulevard 18th Floor
         Costa Mesa, California 92626-1924


        FROm:                        Jon Corey


        RE:                          Bryant v. Mattel

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           Bingham McCutchen LLP
        ^ 600 Anton Boulevard 18th Floor                                                                                                      I                                     I
        ^ Costa Mesa, California 926261924                                                                                                                                          ^,


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      Case 2:04-cv-09049-SGT.-RNB Document 4767 Filed 02/04/2009 ^ Page 1 of ^

   NAME, ADDRESS S 7ELEPHONENUMaEROr A7rORNEY{5) FOR, OR. PI.A1NnFF OR
   DEFENDANT iF Pi . A31Si7FF OR pEFENPANP lS PRO PER.

   Bingham McCutchen LLP
   TODD E. GDIZDCNfEIt (SBN 82244) .
   6fl0^AntonBoulovard, 18th Floor
   Costa Mesa, CA 92626-1924
   'Telephone: 714.830.0640
   Facsimile: 714.83fl.070^
   Email: tndd.gordinierQbinghatn.com                     '


   ATTDRNersFOR: Non-Pasty Otani $08^Investors, LLC

                                               U1^IITED STATES DISTRICT COYIRT
                                              CENTRAL DISTRICT OF CALIFORNIA
  CarterBryant, an individual ,                                                   CASE NDMBER


                                                                                                      CV 04-9049 SGL (RNBx)
                                                                 Plaintiff(s),
                                      v,

  Mattel, Inc., a Delaware Corporation,                                                         CEI2'T'IFICA7'IOIV AiYll NOTICE
                                                                                                  OF 1lNTERESTIzI) PARTIES
                                                                pcfendRnF(s)                             (L;oca! Rule 7,7-1)


 TO:      THE COURT AND ALL PARTIES APPEARING OF RECORD:

 The undersigned, counsel of record for Non-P         Omni 808 Investors, LLC
 (or garty appearing in pro per), certifies that the following listed party (or parties) has (have) a direct, pecuniary
 interest in the outcome of this case. These representations are made to enable the Court to evaluate possible
 disqualifcation or recusal. {Use additional sheet if necessary.}

                                 PARTY                                                            CONNECTION
                                 (List the names of alt such parties and identify their connection and interest-)


 Non-party Omni 808 lnvestars, LLC ("Omni"} is a private                         Omni is the largest secured creditor oFMGA Entertainment, Inc
 limited ]iabiCity company duly farmed under the laws of the State               Omni is seetcing fo intervene in this action fora limited purpose
 of California. Omni's presiderit and chief executive affcer is                  concerning Mattel's request to appoint a reciver at MGA and
 Neil Kadisha.                                                                   related issues concerning Otnni's interests as a secured creditor.




          214/09
          Doke                                                Sign



                                                              Todd E. Gordinier
                                                              Attorney of record for ar party appearing in pia per

                                                        3YOTICE OF 1N'rEItES"I'ED PARTIES
CV-30 (12!03)



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Case 2:04-cv-09049-DOC-RNB Document 4776-8 Filed 02/05/09 Page 85 of 90 Page ID
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     February 5, 2009

r    VIA FACSIMILE AND U. S. MAIL

     Peter N. Villar, Esq.
     Todd E. Gordinier, Esq.
     Bingltasn McCutchen LLP
     600 Anton Boulevard I$th Floor
     Costa Mesa, California 42626-I924


     Re:       _Mattel, Inc, v. MGA Entertainment , Inc. et al.

     Dear Counsel:

    I am writing regarding deficiencies in the Certification and Notice of Interested Parties
    ("Notice") that Omni $0$ Investors; LLC filed yesterday, February 4, 2009.

    Omni 808`s Notice merely states that Omni $08 is a "private limited liability company duly
    formed under the laws of the State of California" and identifies Neil Kadisha as its alleged
    president and chief executive off cer. This limited disclosure fails to satisfy the requirements of
    Local Rule 7.l-I. Omni 808 itself indicated that other individuals or entities hold an ownership
    interest in Omni 808 when it represented to the Cour# in its ex pane application to intervene that
    "Mr. Kadisha solicited various private investors and formed a special purpose enfity, Omni 808
    Investors, LLC, a California limited liability company." (See App. at 5). If tote, these investors
    roust be discio^ed under Local Rule 7.I-1, which requires a litigant to "list all persons,
    associations of persons, firms, partnership and corporations (including parent corporations
    clearly identified as such) tuhiclr stay hove a pecrrr:iary interest in the outcome of the case."
    {Emphasis added).

    Please lei me know whe3i `are can expect to be served with Omni 808's corrected Notice that
    complies with the Local Rules. As I indicated in my letter of February 3, 2009, if Matte! does




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     not receive the required disclosure , we will bring Omni 808`s non-compliance to fife Court`s
     at#ention.

     Best regards,

       ^.s            ^s ^

     .lon Carey




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       Peter N. pillar, Esq.                                                             {714) 830-0640              (714} 830-0719
      .Bingham McCutchen LLP

       Todd E- Gordinier, Esq.                                                           {714) 830-0622              (714} 830-0717
       Bingham McCutchen LLP


      lf' ItOM:            rDn D. Corey, Esq.


      IZE:                Mattel y. MGA

      Ml^ssaci^:

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        Todd E . ^vrdiniar, Esq.                 ^                                               (714) 830-4622                 (714) &3Q-Q7I7
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